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 8                     United States District Court
 9                     Central District of California
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11   CHLOE BIRD,                               Case № 2:20-cv-08902-ODW (AGRx)

12                    Plaintiff,
           v.                                  JUDGMENT
13
     METROPOLITAN LIFE INSURANCE
14   COMPANY,
15                    Defendant.
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Case 2:20-cv-08902-ODW-AGR Document 49 Filed 09/29/21 Page 2 of 2 Page ID #:697




 1                                      JUDGMENT
 2        After bench trial of this matter, and in light of the Court’s Findings of Fact and
 3   Conclusions of Law (ECF No. 48), IT IS HEREBY ORDERED, ADJUDGED,
 4   AND DECREED:
 5           1. Plaintiff shall recover nothing from Defendant.
 6           2. Plaintiff’s First Amended Complaint is dismissed on the merits and with
 7              prejudice.
 8           3. The Clerk of the Court shall close the case.
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10        IT IS SO ORDERED.
11
          September 29, 2021
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                                 ____________________________________
14                                        OTIS D. WRIGHT, II
15                                UNITED STATES DISTRICT JUDGE
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